Case 6:19-cv-00346-RBD-LRH Document 16 Filed 04/02/19 Page 1 of 2 PageID 61



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                               ORLANDO DIVISION

CORINE MANUEL,

       Plaintiff,

v.                                                      Case No. 6:19-cv-346-Orl-37LRH

SANTANDER CONSUMER USA, INC.,

      Defendant.
_____________________________________

                                         ORDER

       Plaintiff initiated this action on February 21, 2019, alleging Defendant violated the

Telephone Consumer Protection Act and Florida Consumer Collection Practices Act.

(See Doc. 1.) Now, the parties jointly move the Court to refer the matter to arbitration and

stay the proceedings pending arbitration as Plaintiff’s claims fall under the terms of the

parties’ arbitration agreement. (See Doc. 15, pp. 1–10 (“Motion”); id. at 11–12 (arbitration

agreement).) Upon consideration, the Motion is due to be granted.

       Accordingly, it is ORDERED AND ADJUDGED as follows:

       1.     The parties’ Joint Motion to Arbitrate and Memorandum of Law (Doc. 15)

              is GRANTED.

       2.     This action is STAYED pending arbitration.

       3.     The parties are DIRECTED to provide a status report to the Court on

              Monday, July 1, 2019, and every ninety (90) days thereafter. The parties

              must also immediately notify the Court upon conclusion of the arbitration


                                            -1-
Case 6:19-cv-00346-RBD-LRH Document 16 Filed 04/02/19 Page 2 of 2 PageID 62



            proceedings.

      4.    The Clerk is DIRECTED to administratively close the file.

      DONE AND ORDERED in Chambers in Orlando, Florida, on April 2, 2019.




Copies to:
Counsel of Record




                                        -2-
